                                                                                                                                                                            Exhibit 7
From: 2024events, <2024events@milwaukee.gov>
Date: Wed, Apr 24, 2024 at 10:15 AM
Subject: 2024 RNC (July 15-July 18) Demonstration Speakers Platform and Parade
To: staff@marchonrnc2024.org <staff@marchonrnc2024.org>



Good morning,

Thank you for signing up for a time slot for the 2024 RNC Demonstration Speakers Platform and Parade. Your
submission has been received. We will follow up with more information soon.

Thanks,


                                                   City of Milwaukee
          https://signature                        Office of Mayor Cavalier Johnson

                                                    htt 2024events@milwaukee.gov
                                                    htt (414) 286-2200
                                                    htt 200 E Wells St, Room 201, Milwaukee, WI 53202
                                                    htt city.milwaukee.gov

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